Case 23-01212-MEH   Doc 14-8 Filed 09/25/24 Entered 09/25/24 16:03:57   Desc
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                             EXHIBIT “6”
Case 23-01212-MEH         Doc 14-8 Filed 09/25/24 Entered 09/25/24 16:03:57            Desc
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  PHH Mortgage Services                                                         Tel 877-744-2506
  PO Box 24738                                                                  Fax 856-917-8300
  West Palm Beach, FL 33416



  See below for a breakdown of the total amount required to pay off the
  account referenced above on or before March 31, 2023, as well as complete
  payoff instructions.
  Important Note: If there is an escrow account associated with the
  mortgage for property taxes and insurance, we may need to pay the tax
  and insurance bills before this payoff quote expires on March 31, 2023.
  Any additional disbursements made on behalf of the mortgage will be
  added to the amounts due on payoff.
  A Lien Release Fee and Recording Fee are the costs charged by the county in
  which the property is located to record a lien release as allowed
  pursuant to the terms of the security instrument. A Lien Release Fee
  and Recording Fee will only be charged when the loan is paid in full
  and as allowed by applicable law. A Lien Release Fee and Recording Fee
  will be assessed in the amount of the actual cost which may vary at the
  time of recording.
  Due Date of Monthly Payment: March 01, 2023
  Interest Rate 4.75000%
  Principal                                                              $      171,973.36
  Interest                                                                        1,361.46
  Recoverable Balance                                                             1,050.00
  Lien Release Fee                                                                     .00
  Recording Fee                                                                      45.00
  Corporate Seconds                                                                    .00
  Priority Stmt Fee                                                                    .00
  Payoff Quote Fee                                                                     .00
  TOTAL PAYOFF AMOUNT DUE BY 03-31-23                                    $      174,429.82
  Bank Wire Fee                                                          $             .00
  TOTAL PAYOFF AMOUNT DUE VIA BANK WIRE TRANSFER
  BY 03-31-23                                                            $      174,429.82
  Next Due Date                                                                   03-01-23
  Quoted Date                                                                     02-10-23
  Payoff Quote Expiration Date                                                    03-31-23
  Original Principal Balance                                             $      312,112.00
  Funds received after the "Total Amount Due to Pay Loan in Full" date
  indicated require additional interest of $ 680.73 per month.




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